Case 1:20-cv-11691-FDS Document 1-5 Filed 09/15/20 Page 1of 3

EXHIBIT 4
=

be

Case 1:20-cv-11691-FDS Document 1-5 Filed 09/15/20 Page 2 of 3

Todd&Weldur

Howard M. Cooper, Esq.
Email: hcooper@toddweld.com

April 21, 2020

VIA EMAIL

The Boston Broadside
Attention: Lonnie Brennan
P.O. Box 4200

Peabody, MA 01961
Lonnie@bostonbroadside.com

Re: Preservation of Evidence

Dear Mr. Brennan:

This firm represents Attorney Nicholas J. Louisa, Attorney Peter Russell and the law firm
of Russell & Associates, LLC with respect to their claims for defamation and other civil wrongs
against The Boston Broadside and its reporters, including you, that arise out of articles which
appeared in your newspaper in May and June of 2019 and March of 2020.

I write to inform you of your legal obligation to preserve all documents and data from
any and all sources relevant to my clients’ claims. To avoid any confusion as to your legal
obligations in this regard, “documents and data” as used here means not only paper “hard copy”
documents, but also photographs, video recordings, audio recordings, videotape, email, instant
messages, electronic and word processing/spreadsheet documents and databases (such as
documents created using Microsoft Word, Excel, PowerPoint, Access and the like), incident
reports, calendars, telephone logs, contact manager information, Internet usage files, social
media postings and communications (including Facebook, Twitter, LinkedIn, Instagram,
Snapchat, TikTok, YouTube, WhatsApp, etc.), text messages, and all other electronic
information maintained created, received and/or maintained by you, including all associated
metadata. “Sources” includes all hard copy files, computer hard drives, cameras, removable
media (e.g. USB drives, external hard drives, CDs and DVDs), laptop computers, PDAs,
Personal Information Management devices (e.g. Blackberries, iPhones, iPads) and any other
locations where hard copy and electronic data is stored by any and all individuals likely to
possess such information. The above-mentioned sources of relevant and discoverable
information may include personal computers used by your agents or employees. It also includes
inaccessible storage media, such as backup tapes which may contain relevant electronic
information that does not exist in any other form.

In order to comply with your legal obligations, you must immediately preserve all
existing records, documents and data (both electronic and hard copy) that could be potentially
relevant to my clients’ claims. This specifically means that you must suspend any and all
deletion, overwriting or other possible destruction of relevant documents and data, whether or
not pursuant to a formal document retention policy. Of particular importance, you must preserve
all emails and text messages. If necessary, please take immediate steps to contact third-party

Todd & Weld LLP « Attommeys at Law * One Federal Street, Boston, MA 02110 © T: 617.720.2626 « F: 617.227.5777 * www.toddweld.com
Case 1:20-cv-11691-FDS Document 1-5 Filed 09/15/20 Page 3 of 3
The Boston Broadside

qT Attention: Lonnie Brennan
Todd&Weld up April 21, 2000

Page 2 of 2

service providers to preserve cellular phone records and logs. If you have deleted
discoverable and relevant electronically stored information previously, whether through a
document retention policy or otherwise, and that information can still be reasonably recovered,

you must attempt to recover this information immediately.

Please note that these preservation and retention obligations are ongoing.

Very truly yours,

MO ay

Howard M. Cooper

ce: Matthew S. Furman, Esq.

Todd & Weld LLP « Attorneys at Law « One Federal Street, Boston, MA 02110 ¢ T: 617.720.2626 ¢ F: 617.227.5777 * www.toddweld.com
